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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                LUFKIN DIVISION

  STEPHEN LOTT and JEREMIAH                      §
  JOHNSTON, On Behalf of Themselves              §
  and All Others Similarly Situated,             §
                                                 §
  Plaintiffs,                                    §
                                                 §    CIVIL ACTION NO. 9:11-cv-00173-RC
  V.                                             §
                                                 §          JURY TRIAL DEMANDED
  BUCCANEER SATELLITE INC.,                      §
  CANDY H. TYRE and DIRECTV, INC.                §
                                                 §
  Defendants.                                    §


   PLAINTIFFS’RESPONSE IN OPPOSITION TO DEFENDANTS’MOTION TO
          DISMISS AND/OR MOTION TO COMPEL ARBITRATION

          Stephen Lott and Jeremiah Johnson, on behalf of themselves and on behalf of all

  others similarly situated (“Plaintiffs”) file this Response in Opposition to Defendants’

  Motion to Dismiss and/or Motion to Compel Arbitration, and respectfully state as

  follows:

  I.      Introduction and summary of argument.

          Defendants Buccaneer Satellite Inc., Candy H. Tyre and DirecTV, Inc.

  misclassify their employees as independent contractors as part of a plan to deprive them

  out of their overtime and minimum wage rights under the Fair Labor Standards Act. This

  is a common industry practice despite repeated rulings across the country clearly holding

  that cable and satellite television installers are employees under the economic realities

  test. Plaintiffs Lott and Johnson seek damages under the Fair Labor Standards Act for

  themselves and similarly situated employees for (1) minimum wage and overtime
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  compensation for the last three years, (2) an equal amount as liquidated damages, and (3)

  attorney’s fees and court costs.

         Defendant forced Lott and Johnson to sign a document inaptly titled “independent

  contractor agreement” that imposes draconian terms on them that strip them of their

  substantive rights under the FLSA. The court should deny Defendants’request for each

  of the following independent reason:

         (1)     The arbitration clause is unconscionable because it limits Plaintiffs’
                 substantive rights to pursue their minimum wage and overtime claim for
                 the statutory three-period by imposing a contractual 180-day limitations
                 period, thereby rendering the agreement invalid.

         (2)     The arbitration clause is unconscionable because it waives Plaintiffs’
                 substantive right to overtime pay under the FLSA by adopting Florida
                 state law, which lacks an overtime pay requirement, as the sole substantive
                 law applicable to their claims, thereby rendering the agreement invalid.

         (3)     The arbitration clause is unconscionable because it modifies the
                 substantive law under the FLSA which allows only the employee to
                 recover attorney’s fees and expert witness fees in the event he prevails.
                 This arbitration clause creates a new right for the employer to recover
                 attorney’s fees and expert fees, which will be used has a hammer to
                 intimidate employees from exercising their rights.

         (4)     The arbitration clause is unconscionable because it requires Lott and
                 Johnson to pay for at least half of the arbitration costs and to participate in
                 an arbitration proceeding in Pinellas County, FL even though they reside
                 and worked for Buccaneer in Texas.

         (5)     The arbitration clause was based on illusory consideration because it was
                 not accepted by Buccaneer, which deprives Lott and Johnson of their right
                 to compel Buccaneer to arbitrate disputes. Unilateral obligations to
                 arbitrate disputes are unenforceable.

         If the court does find the arbitration clause enforceable, it should only be held to

  be enforceable as to Lott and Johnson’s claims against Buccaneer, not against Defendants

  Candy H. Tyre and DirecTV, Inc. These two defendants are not parties to the agreement

  and plaintiffs never agreed to arbitrate their claims against them.

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         In addition, if the court does find the arbitration clause enforceable, the court

  should compel arbitration to take place in Houston, Texas and should specifically allow

  in its order for the arbitration to proceed as a class action for all workers/contractors who

  signed the arbitration agreement. The court should also issue an order rendering many of

  the clauses unenforceable as stated in the proposed order.

  II.    Argument and authority supporting denial of arbitration.

         The party seeking to compel arbitration has the burden to establish that an

  arbitration agreement exists. In re Oakwood Mobile Homes, Inc., 987 S.W.2d 571, 573

  (Tex. 1999); Wachovia Sec., L.L.C. v. Emery, 186 S.W.3d 107, 113 (Tex. App.— Houston

  [1st Dist.] 2005, org. proceeding). This requires a showing that the agreement containing

  the arbitration clause “meets the requirements of general contract law.” See In re

  Advanced PCS Health L.P., 172 S.W.3d 603, 606 (Tex. 2005); UBS Fin. Serv., Inc. v.

  Branton, 241 S.W.3d 179, 184 (Tex. App.— Fort Worth 2007, no pet.). Submission of an

  authenticated copy of the agreement is necessary. In re H.E. Butt Grocery Co., 17

  S.W.3d 360, 367 (Tex. App.— Houston [14th Dist.] 2000, orig. proceeding.) Next, the

  party seeking arbitration must establish that the claims in the dispute fall within the scope

  of the arbitration clause. In re Autotainment Partners, 183 S.W.3d 532, 534 (Tex. App.—

  Houston [14th Dist.] 2006, orig. proceeding).

         In ruling upon a motion to compel arbitration, courts first determine whether the

  parties agreed to arbitrate the particular type of dispute at issue. JP Morgan Chase & Co.

  v. Conegie ex rel. Lee, 492 F.3d 596, 598 (5th Cir. 2007). Answering this question

  requires considering two issues: (1) whether there is a valid agreement to arbitrate




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  between the parties, and (2) whether the dispute in question falls within the scope of that

  arbitration agreement. Id.

         In this case, there is no need to address the second issue because there is no valid

  agreement to arbitrate. The Federal Arbitration Act reflects a “liberal federal policy

  favoring arbitration.” CompuCredit Corp. v. Greenwood, 132 S. Ct. 665, 669, 2012 WL

  43514, at *3 (Jan. 10, 2012) (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr.

  Corp., 460 U.S. 1, 24 (1983)). However, the “federal policy favoring arbitration does not

  apply to the determination of whether there is a valid agreement to arbitrate between the

  parties.” Morrison v. Amway Corp., 517 F.3d 248, 254 (5th Cir. 2008).           It is well

  established that an agreement to arbitrate is a matter of contract. Carey v. 24 Hour

  Fitness, USA, Inc., No. 10-20845, 2012 WL 205851, at *2 (5th Cir. Jan. 25, 2012). Thus,

  to determine whether an agreement to arbitrate exists, is a matter of contract. Id. Courts

  apply ordinary state-law principles that govern the formation of contracts. Morrison, 517

  F.3d at 254.

         In this case, the arbitration agreement fails as a matter of contract for the

  following reasons: (1) the agreement is unconscionable; (2) the agreement was based on

  illusory consideration; and (3) two of the Defendants who moved to compel arbitration

  are not even parties to the agreement.

         1. The arbitration clause is unconscionable because it reduces the FLSA
            three-year SOL to a 180-day SOL.

         FLSA rights cannot be waived under any circumstance. On this issue, the U.S.

  Supreme Court has ruled, “This Court’s decisions interpreting the FLSA have frequently

  emphasized the nonwaivable nature of an individual employee’s right to a minimum

  wage and to overtime pay under the Act. Thus, we have held that FLSA rights cannot be

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  abridged by contract or otherwise waived because this would ‘nullify the purposes’of the

  statute and thwart the legislative policies it was designed to effectuate.” Barrentine v.

  Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 740 (1981). Moreover, the “principal

  congressional purpose in enacting the [FLSA] was to protect all covered workers from

  substandard wages and oppressive working hours, ‘labor conditions [that are] detrimental

  to the maintenance of the minimum standard of living necessary for health, efficiency and

  general well-being of workers.’”Id. at 739. Indeed, the FLSA’s provisions “are remedial

  and humanitarian in purpose. We are not here dealing with mere chattels or articles of

  trade but with the rights of those who toil, of those who sacrifice a full measure of their

  freedom and talents to the use and profit of others. Those are the rights that Congress has

  specially legislated to protect. Such a statute must not be interpreted or applied in a

  narrow, grudging manner.”Tennessee Coal, Iron & R. Co. v. Muscoda Local No. 123,

  321 U.S. 590, 597 (1944).

         Defendant conveniently omits the most critical portions of arbitration clause from

  its brief and in particular the following section:




  See Def.’s Motion, Ex. 1, p. 3.

         Lott worked as an employee for Buccaneer from October 17, 2010 to May 27,

  2011. Lott filed his federal Complaint on October 17, 2011. Under the arbitration

  clause, Lott at most could pursue his claim from approximately April 17, 2011 until May

  27, 2011, which amounts to approximately five weeks. Under the FLSA, he would be

  able to pursue a claim for the entire period her worked for Defendant. Such a contractual


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  waiver is illegal per se, rendering the arbitration agreement invalid. See Allen v. Atl.

  Richfield Co., 724 F.2d 1131, 1135 (5th Cir. 1984) (“[A]n agreement for an employee to

  work [overtime hours] at a non-overtime rate or to work at less than the minimum wage

  would not be enforceable, since an employee's right to a minimum wage per hour or

  overtime pay for hours over forty hours a week is not subject to waiver by the

  employee.”).

           2. The arbitration clause is unconscionable because it waives Plaintiffs’
              right to overtime pay under the FLSA.

  The arbitration likewise provides that, “The parties further agree that the substantive,

  evidentiary and procedure laws of the state of Florida shall be applied in such

  proceedings.” See Def.’s Motion, Ex. 1, p. 3. Florida does not have an independent

  overtime law. By forcing plaintiffs to arbitrate this dispute regarding overtime wages

  under this agreement, Defendant is asking the court to issue an effective summary

  judgment because the law contractually selected does not allow for overtime pay ab

  initio. As stated above, employees cannot waive their rights to overtime required to be

  paid under the FLSA. See Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728,

  740 (1981). Accordingly, the arbitration clause contains unconscionable and invalid

  terms.

           3. The arbitration clause is unconscionable because modifies the substantive
              law under the FLSA by creating a new threat of having to pay the
              employer’s fees if the employee does not prevail.

           The FLSA affords the employee the unilateral right to recovery fees and court

  costs in the event he prevails on his claim. This fee shifting provision was intended to

  encourage employees to exercise their rights by allowing them to make a claim even if

  they lack the resources to access the courts. Likewise, Congress intentionally did not

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  make the fee-shifting component of the law bilateral because doing so deters employees

  from exercising their rights due to fear of having to pay their employer’s fees in the event

  they do not prevail. Silva v. Miller, 547 F. Supp. 2d 1299, 1304 (S.D. Fla. 2008) aff'd,

  307 Fed. Appx. 349 (11th Cir. 2009) (“Congress encourages the filing of meritorious

  FLSA claims by providing for the recovery of reasonable attorney's fees.”)

         The arbitration clause in question turns this legal paradigm on its head. The

  agreement explicitly requires the employee to pay the employer for not just all attorneys’

  fees, but also all expert witness’fees and the arbitrator’s fees in the event they do not

  prevail on their claim. The mere threat of having to pay tens of thousands of dollars

  imposes a real deterrence to even exercising their rights. As such, the arbitration clause is

  unconscionable on its face.

         4. The arbitration clause is unconscionable because the costs of the
            arbitration proceeding are significantly greater than the costs the
            Plaintiffs would incur in federal court, and it requires Lott and Johnson
            to participate in an arbitration proceeding in Pinellas County, FL even
            though they reside and worked for Buccaneer in Texas.

         An arbitration clause is unenforceable when it imposes substantial costs on one of

  the parties to the agreement. See, e.g., Green Tree Fin. Corp. v. Randolph, 121 S.Ct. 513,

  522, 531 U.S. 79, 91 (2000). Specifically, the United States Supreme Court recognized

  that “the existence of large arbitration costs could preclude a litigant … from vindicating

  federal statutory rights.”Id.

         In this case, the arbitration agreement mandates that the arbitration proceeding be

  conducted through the American Arbitration Association (“AAA”). (See Ex. 1, Def.’s

  Motion at p. 5.) Under AAA rules, absent a statement in the arbitration clause regarding

  who pays for such fees upfront, both parties are required to pay the arbitrator’s fees and



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  related costs equally.      Such an agreement is unconscionable because it imposes

  substantial costs on the Plaintiffs relative to the Defendants.

            Under the FLSA, a successful claimant has the statutory right to receive all costs

  of court and attorney’s fees from the employer. See 29 U.S.C. § 216(b). The agreement

  Defendants now wish to enforce, strip the Plaintiffs of their substantive rights by

  requiring them to pay the substantial costs of the arbitration, despite having meritorious

  claims.

             Attached hereto as Exhibit 2 is the fee schedule for employment disputes before

  the American Arbitration Association. (See Exhibit 2). The initial filing fee for the

  Plaintiffs is estimated at $8,200.00 –significantly greater than the filing fee for a federal

  complaint. (Id. at page 4). An additional “final fee” is owed in the amount $3,250.00.

  (Id.) Additionally, the Plaintiffs have to pay for a rental fee for a room for the final

  hearing, the expenses of the arbitrator, and the fees for the arbitrator. (See id. at page 7).

  In a recent employment arbitration that Plaintiffs’counsel participated in, the fees for the

  arbitrator prior to the final hearing were in excess of $18,000.00. Thus, the costs for this

  arbitration are substantially greater than the costs that would be incurred in litigation. In

  fact, these costs are weighed heavily against the Plaintiffs.       Thus, the agreement is

  unconscionable as it prevents the Plaintiffs from litigating their statutory rights under the

  FLSA.

            5. The arbitration clause was based on illusory consideration because it was
               not accepted by Buccaneer, which deprives Lott and Johnson of their
               right to compel Buccaneer to arbitrate disputes. Unilateral obligations to
               arbitrate disputes are unenforceable.

            Arbitration agreements must be supported by consideration. In re Palm Harbor

  Homes, 195 S.W.3d 672, 676 (Tex. 2006). If the consideration is illusory, the arbitration

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  agreement fails. See id. Under Texas law, an arbitration clause is illusory if one party can

  “avoid its promise to arbitrate by amending the provision or terminating it altogether.” In

  re 24R, Inc., 324 S.W.3d 564, 567 (Tex. 2010). In other words, where one party to an

  arbitration agreement seeks to invoke arbitration to settle a dispute, if the other party can

  avoid arbitration, then the agreement is illusory from the outset. See Torres v. S.G.E.

  Mgmt., LLC, 397 F. App’x 63, 68 (5th Cir. 2010) (summarizing several Texas and Fifth

  Circuit opinions noting that the ability to amend the agreement retroactively so as to

  avoid any promise to arbitrate indicates that the agreement is illusory.).

          In this case, the arbitration agreement was never executed by Buccaneer. This is

  true for both Lott and Johnson’s agreements. Hence, if Buccaneer wanted to pursue a

  claim against Lott or Johnson in federal court, Lott and Johnson could not prevent them

  from doing so because Buccaneer did not execute the agreement. That is, the agreement

  is completely one-sided. Buccaneer in essence reserved for itself the power to terminate

  the arbitration agreement at any time, without notice to the plaintiffs. On the other hand,

  the Plaintiffs are bound to arbitrate.

          Such provisions have been consistently held to invalidate arbitration agreements.

  Recently, the Fifth Circuit held that an arbitration agreement in an employee handbook

  was void as illusory because the employee handbook gave 24 Hour Fitness “the right to

  revise, delete, and add to the employee handbook.”Carey v. 24 Hour Fitness, USA, Inc.,

  No. 10-20845, 2012 WL 205851, at *5-*6 (5th Cir. Jan. 25, 2012). Likewise, the Fifth

  Circuit in Morrison v. Amway Corp., 517 F.3d 248 (5th Cir. 2008) refused to enforce an

  arbitration agreement that was capable of being modified. Id. at 257. The Fifth Circuit

  determined that the fact that the distributor agreement stated that it could be “amended



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   and published from time to time in official Amway literature”invalidated the arbitration

   agreement. Id.; see also Zamora v. Swift Transp. Corp., 319 F. App’x 333, 334 (5th Cir.

   2009) (affirming that an arbitration agreement was illusory because the employer

   “reserved the right to revoke or modify the agreements at any time.”). Furthermore, in

   Weekly Homes, LP v. Rao, 336 S.W.3d 413 (Tex. App.— Dallas 2011, pet. denied), the

   employer sought to compel its employee to arbitration. Id. at 415. The court held that

   the agreement to arbitrate was illusory because the employment handbook stated that it

   was “not to be interpreted as a promise by the Company that any particular situation will

   be handled in the express manner set forth in the text.” Id. at 421.

          In analyzing this line of cases, the Fifth Circuit recently stated:

          Thus, the fundamental concern driving this line of case law is the
          unfairness of a situation where two parties enter into an agreement that
          ostensibly binds them both, but where one party can escape its obligations
          under the agreement by modifying it.

   Carey v. 24 Hour Fitness, USA, Inc., No. 10-20845, 2012 WL 205851, at *6 (5th Cir. Jan.

   25, 2012). Here, the facts are even worse. The Defendants do not even have to make any

   edits to the agreement; they merely need to point to the fact that they did not sign it to

   avoid arbitration. This means Defendants have the unilateral right to avoid arbitration at

   any time. This unilateral power means there is no consideration or at best illusory

   consideration supporting contract formation. Accordingly, no valid, bilateral agreement

   was formed.

   III.   Argument and authority supporting denial of arbitration as to Defendants
          Candy Tyre and Direct TV. These Defendants are not parties to the proposed
          contracts.

          If the court finds the agreement enforceable, it is only enforceable as to plaintiffs’

   claims against Buccaneer; Candy Tyre Individually and Direct TV are not parties to the

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   agreement. Clearly, Tyre and Direct TV cannot compel Lott and Johnson to arbitrate

   claims made against them when there is no arbitration clause that applies to them.

   Moreover, Tyre and Direct TV are legally estopped from taking the position that they

   somehow had a joint operation with or were joint employers with Buccaneer. In their

   Answers to Plaintiffs’Complaint, they specifically deny, and are legally estopped from

   arguing otherwise, that they are joint employers with Buccaneer. (See Docs. No. 9 and

   10, at pars. 40-59, Defendant’s Answers). Defendants likewise denied all of the other

   factual allegations that they acted as one or otherwise should be treated as a joint

   employer with Buccaneer. They cannot be heard now to argue that they should receive

   the benefit of an arbitration agreement that applies to an entity from which they so

   strenuously have distanced themselves in their pleading.

   IV.    Arguments and authority supporting opt-out collective action proceeding
          through arbitration.

          If the court does find the arbitration clause enforceable, the court should compel

   arbitration to take place in Houston, Texas and should specifically require in its order that

   the arbitration be allowed to proceed as an opt-out collective action, if the requisite proof

   is established, for all workers/contractors who signed the arbitration agreement.

          Under the class arbitration rules of the American Arbitration Association (AAA),

   an FLSA collective action can proceed as an opt-out class. Long John Silver’s

   Restaurants, Inc. v. Cole, 514 F. 3d 345 (4th Cir. 2008). In Long John Silver, the Fourth

   Circuit affirmed an arbitrator’s decision to apply the opt-out provisions contained in the

   AAA’s Supplementary Rules for Class Arbitrations to collective claims pursued under

   section 16(b) of the FLSA. See id. at 353-354. In that case, the parties adopted the AAA

   arbitration rules to adjudicate disputes. Id. at 347. The AAA rules allowed for opt-out

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   class actions. Id. Therefore, the Fourth Circuit held that the arbitrator appropriately

   interpreted the parties’adoption of the AAA rules to allow for an opt-out class even for a

   violation that was based on the Fair Labor Standards Act.

           The agreement here does not contain any waiver against class or collective

   actions, which is sometimes the case. Instead, just like the Long John Silver case, the

   agreement specifically adopts the AAA rules: “Any controversy or claim arising out of or

   relating to this agreement, . . . shall be settled by arbitration proceedings . . . in

   accordance with the applicable rules of the American Arbitration Association, . . .” (See

   Def.’s Motion, Ex. 2 p. 3)

           When parties do not waive class action procedures and adopt the AAA rules,

   arbitrators and courts allow such proceedings to proceed as an “opt out” arbitration

   because the AAA rules provide for an opt-out, not an opt-in procedure. Following Long

   John Silver’s, other AAA and JAMS arbitrators have ordered opt-out procedures in

   FLSA cases under their class rules.1 In Johnson v. Morton’s Restaurant Group, Inc.,2 the

   arbitrator found that the parties’arbitration agreements permitted class actions and that

   AAA’s Supplementary Rules for Class Arbitrations governed the action. The arbitrator

   certified the class and determined that the class should proceed on an opt-out basis

   because (1) the AAA Supplementary Rules provide opt-out procedures similar to Rules

   23 and (2) when an employer seeks relief in federal court to delay arbitration

   proceedings, which will reduce the number of eligible class members, the employer has



   1
     Bowen v. Hovnanian Communications, Inc., JAMS, No. 1220038720, p. 2 (Dec. 29, 2008); Bryant v. Joel
   Antunes, LLC, AAA, No. 11 160 01783 05, p. 2 (Sept. 17, 2007) (Partial Final Award of Class
   Certification); No. 1:04-CV-2550-CC, p.4 (N.D. Ala. July 22, 2008); Johnson v. Morton’s Rest. Group,
   Inc., AAA, No. 11 160 01513 05, p. 19 n.28 (June 27, 2007) (class Determination Award, Partial Final
   Award).
   2
     AAA, No 11 160 01513 05, p. 4 (May 22, 2006) (Clause Construction Award).

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   agreed to the opt-out procedure.3 In Bryant v. Joel Antunes, LLC,4 the arbitrator

   determined that the arbitration agreement was silent on the issue of class actions and

   therefore did not prohibit class actions. In certifying the class, the arbitrator directed that

   the AAA Supplementary Rules for Class Arbitrations and its opt-out procedures apply.5

           Just as important, the recent D.R. Horton decision from the National Labor

   Relations Board affirms that class action/collective action waivers are illegal in

   employment arbitration agreements. (See Exhibit 3 - D.R. Horton, Inc., 357 NLRB No.

   184 (Jan 3, 2012).) This court’s ruling on this issue is made all the easier by the fact that

   the arbitration clause in question does not contain any such waivers. Defendant’s brief,

   moreover, is silent on whether the matter should proceed as a collective action via

   arbitration. Nonetheless, to avoid any ambiguity on the issue before the arbitrator, if this

   court compels the parties to arbitrate, Plaintiffs’seek a ruling that Plaintiffs shall be

   allowed to pursue their claims as a collective action.

           In D.R Horton, an employee sued his employer under the FLSA. (Id. at page 1).

   However, prior to doing so, the employee signed an arbitration agreement. (Id.) The

   arbitration agreement stated that the arbitrator “may hear only Employee’s individual

   claims,”and “will not have the authority to consolidate the claims of other employees,”

   and “does not have the authority to fashion a proceeding as a class or collective action.”

   (Id.)   D.R. Horton required its employees to sign the agreement as a condition of

   employment. (Id.)        The National Labor Relations Board held that the arbitration



   3
     Johnson, AAA, No. 11 160 01513 05, p. 19 n. 28 (June 27, 2007) (Class Determination Award, Partial
   Final Award).
   4
     AAA No. 11 160 01783 05, pp. 7-8 (Apr. 21, 2006) (Clause Construction Award).
   5
     AAA No. 11 160 01783 05, p. 13 (Sept. 17, 2007) (Partial Final Award of Class Certification); No. 1:04-
   CV-2550-CC, p. 4 (N.D. Ala. July 22, 2008).

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   agreement was invalid because it violated section 8(a)(1) of the National Labor Relations

   Act. (Id. at page 13).

          Specifically, the NLRB determined that employees have the substantive right “to

   engage in … concerted activities for the purpose of collective bargaining or other mutual

   aid or protection.”(Id. at page 2) (citing 29 U.S.C. § 157). The opinion further states:

          It is well settled that “mutual aid or protection” includes employees’
          efforts to “improve terms and conditions of employment or otherwise
          improve their lot as employees through channels outside the immediate
          employee-employer relationship.” Eastex, Inc. v. NLRB, 437 U.S. 556,
          565-566 (1978). The Supreme Court specifically stated in Eastex that
          Section 7 “protects employees from retaliation by their employer when
          they seek to improve their working conditions through resort to
          administrative and judicial forums.”Id. at 565-566.

   (Id. at page 4). In D.R. Horton, the arbitration agreement prohibited employees from

   bringing their claims collectively in arbitration or in a judicial forum. (Id. at page 13).

   This violated section 8(a)(1) of the NLRA. (Id.) Section 8(a)(1) of the NLRA makes it an

   unfair labor practice for an employer “to interfere with, restrain, or coerce employees in

   the exercise of the rights guaranteed in” Section 7. (Id. at page 4) (citing 29 U.S.C.

   §158(a)(1)).

          Here, if the court is inclined to compel this matter to arbitration, it should order

   that the arbitration be allowed to be conducted as a collective action. Following D.R.

   Horton, other courts considering this matter have either denied arbitration outright due to

   a class action waiver or specifically allowed the arbitration to proceed as a collection

   action, opt-out or otherwise. Herrington v. Waterston Mortgage Corp., No. Civ. A.

   2011-779, 2012 WL 1242318 (W.D. Wis. Mar. 16, 2012); Owen v. Bristol Care, Inc.,

   No. Civ. A. 2011-04258, 2012 WL 1192005 (W.D. Mo. Feb. 28, 2012)




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          Plaintiffs proposed order contains language denying Defendant’s Motion to

   Compel Arbitration and, in the alternative, granting defendant’s motion to compel

   arbitration but ordering that Plaintiffs be allowed to pursue their claim as an opt-out

   collective action.

   V.     Conclusion.

          For these reasons, Plaintiffs ask the Court to deny Defendants’Motion to Dismiss

   and/or Motion to Compel Arbitration or, in the alternative, grant such motion only as to

   Defendant Buccaneer and only with the limitations described in the filed proposed order.

                                               Respectfully submitted,

                                               KENNEDY HODGES, LLP

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                                               ATTORNEY IN CHARGE FOR PLAINTIFFS
                                               & CLASS MEMBERS


                               CERTIFICATE OF SERVICE

        I certify that this document was served on all parties via the Eastern District’s
   CM/ECF system on July 20, 2012.



                                                              /s/ Galvin B. Kennedy
                                                              Galvin B. Kennedy




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